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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION
                             __________________________

CHRISTIEN MARTIN #794831,

              Plaintiff,                                           Case No. 2:18-CV-173

v.                                                                 HON. GORDON J. QUIST

DUNCAN MACLAREN, et al.,

            Defendants.
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               ORDER ADOPTING REPORT AND RECOMMENDATION

       On September 16, 2020, U.S. Magistrate Judge Maarten Vermaat held an evidentiary

hearing on the issue of exhaustion. (ECF No. 65.) On September 23, 2020, Judge Vermaat issued

a Report and Recommendation (R.&R.), recommending that the Court find that Defendants have

failed to establish that Plaintiff did not exhaust his administrative remedies. (ECF No. 67.) The

Court has reviewed the R.&R. No objections have been filed pursuant to 28 U.S.C. § 636(b).

Thus, the Court will adopt the R.&R.

       THEREFORE, IT IS HEREBY ORDERED that the September 23, 2020, Report and

Recommendation (ECF No. 67) is adopted as the Opinion of the Court. This case shall proceed

on Plaintiff’s Eighth Amendment claims against Defendants Goings and MacDonald.



Dated: October 19, 2020                                     /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                     UNITED STATES DISTRICT JUDGE
